









Dismissed and Memorandum Opinion filed May 25, 2006









&nbsp;

Dismissed and Memorandum Opinion filed May 25, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00426-CR

____________

&nbsp;

BOBBY DAVID ADAMS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from County Criminal
Court at Law No. 7

Harris County, Texas

Trial Court Cause No.
1324839

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not issued an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered
and Memorandum Opinion filed May 25, 2006.

Panel consists of
Justices Hudson, Fowler, and Seymore.

Do not publish C Tex.
R. App. P. 47.2(b).





